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               1                   UNITED STATES DISTRICT    3QR',L4ra   '~. .._. z._ ._ .~~

               2                  CENTRAL DISTRICT OF CAL
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               3            HONORABLE EDWARD RAFEEDIE JU        ~P~61~D~GT3S3                         „~r

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                   UNITED STATES OF AMERICA,

                                   Plaintiff,

                            vs.                        Case No. CR-87-422-ER

                   RAFAEL CARD-QUINTERO, et al.,
                                                             O RIGINAL
              10                   Defendants.

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              14

              15              REPORTER'S TRANSCRIPT OF PROCEEDINGS

              16                      LOS ANGELES, CALIFORNIA

              17                       MONDAY, MARCH 1, 1993

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             22                        MARY TUCKER, CSR 9308
                                      Official Court Reporter
~--          23                        429-D U.S. Courthouse
                                      312 North Spring Street
             24                      Los Angeles, Calif. 90012
                                           213/687-0530
             25
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                APPEARANCES:



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         L   LOS ANGELES, CALIFORNIA; MONDAY, MARCH 1, 1993; 3:00 PM

         Z             THE CLERK:   CR-87-422, United States of America v.

         3   Ruben Zuno-Arce.

         4             Counsel, please state your names for the record,

             please.

         6             MR. CARLTON:   Good afternoon, Your Honor.   John

         7   Carlton and Manuel Medrano on behalf of the United States.

         B             MR. MEDVENE:   Good afternoon, Your Honor.   Ms.

         9   Fulginiti and Messrs. Blancarte, Luellen and Medvene-for

        1D   Mr. Zuno.   Mr. Zuno is present.

        11             THE COURT:   The Court has read and considered a

        12   number of motions filed on behalf of Mr. Zuno.     And I will

        13   go through them and give my tentative decision on each one,

        14   explain the reasons, and then I will permit counsel to be

        15   heard.

        16             The first motion, is a motion for a judgment of

        17   acquittal, which the Court has read and considered all of

        18   the papers submitted in this matter by both the defendant

        19   and the government.    And the Court's tentative conclusion

       20    is that a judgment of acquittal is inappropriate in this

       21    case and should be denied.

       22              The evidence presented at the trial supports the

       23    defendant's conviction of Counts Three, Four, Six and Seven

       24    of the indictment, if viewed in the light most favorable to

       25    the government, which is the standard by which a motion for
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           1   judgment of acquittal should be viewed.

           2            The further part of the standard is that if any

           3   rational trier of fact could have found the essential

           4   elements of the crime beyond a reasonable doubt.

           5            The Court, viewing the evidence in that light, can

           6   say that any rational trier of fact could have found that

           7   the essential elements of the crime have been proved beyond

           9   a reasonable doubt.

           a            In convicting Mr. Zuno for Counts Three and Four

        1~     under 18 USC 1959(a)5 and (a)1, the government presented

        11     eyewitness direct testimony of the defendant's direct

        1Z     participation in the membership in the Guadalajara

        13     narcotics cartel.

        14              Moreover, the jury was presented with evidence

        15     indicating Defendant Zuno's attendance at several meetings

        15     as part of a conspiracy to kidnap and murder Agent

        17     Camarena.

        13              This evidence similarly supports the conviction of

        1a     the defendant under Counts Six and Seven for conspiracy and

       2       the kidnapping of Agent Camarena.

       2L               Although the defendant may have introduced

       2t      contradictory evidence, it is within the exclusive province

       23      of the jury to determine the credibility of the witnesses

       2~      and to resolve evidentiary conflicts.

       2i               It must be assumed that the jury resolved all such
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                                                                           5

         l   matters in a manner which supports the verdict.     That is

         t   after all what they did, is render a verdict against the

         3   defendant.

         4            So based on the testimony offered at trial, a

         5   rational trier of fact could have found the essential

         6   elements of conspiracy to kidnap and murder Drug

         7   Enforcement Agent Camarena beyond a reasonable doubt,

         B   therefore, this motion, in the view of the Court, should be

         9   denied for those reasons.

        10               We have three separate motions filed under Rule

        11   33.   The first is a motion under Rule 33 for a new trial

        12   based upon the verdict being against the weight of the

        13   evidence.

        14            Well, I think by what I have just said, I do not

        15   believe the verdict to have been against the weight of the

        16   evidence.    In fact, the verdict would be well-supported by

        17   the evidence presented if the evidence is believed.     And

        18   the jury believed it.

        19            The Court's conclusion is that a new trial should

        20   not be granted on the grounds that the verdict is against

       21    the weight of the evidence.

        22            Now, Federal Rule 33 provides that the Court may

       23    grant a new trial to a defendant if required in the

        24   interest of justice, and places the burden on a defendant

       25    in a motion for new trial to persuade the Court that the
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         1   conclusion reached by the jury was a miscarriage of

         2   justice.    The Court does not reach that conclusion.

         3              So the Court finds that with respect to this

         4   motion, none of the grounds raised by the defendant meet

         5   the standard required for the granting of a new trial based

         6   on the verdict being against the weight of the evidence.

         7              There is another 33, these could have been

         B   combined probably because this motion is close to the other

         9   motion.    It is again under Rule 33.   And in this motion the

        1D   defendant asks the Court to grant a new trial because it is

        11   required in the interest of justice.    However, for a new

        12   trial to be granted, the evidence must preponderate

        13   sufficiently heavily against the verdict that a miscarriage

        14   of justice has occurred.

        1~              The Court's view is that the evidence does not do

        16   so in this case.   In fact, it is the Court's view that it

        17   preponderates in favor of the verdict rather than against

        13   it.

        1a              The Court finds that having weighed the evidence

        2~   and considered the credibility of witnesses, the jury's

        2L   verdict is supported by the evidence presented by the

        2Z   government at trial.   And that the verdict is not contrary

       23    to the weight of the evidence.    And that this motion also,

       2~    in the view of the Court, should be denied, this motion for

       2i    new trial under Rule 33.
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         1             The final motion is a motion also brought under

         2   Rule 33, and it is based on the claim that the government

         3   has failed to disclose Brady material.

         4             The Court has read and considered all of the

         5   papers submitted in this matter, as it has in all of the

         6   other motions, and tentatively concludes as follows:     The

         7   failure to disclose Brady material requires reversal only

         B   if there is a reasonable probability that had the evidence

         9   been disclosed to the defense, the result of the proceeding

        1D   would have been different.    The reasonable probability is a

        11   probability sufficient to undermine confidence in the

        12   outcome of the trial.

        13             Looking at the evidence provided to the defendant

        14   by the disclosure of documents ordered by the Court, the

        15   Court is unable to find that there is any such probability

        15   that the result would have been different.

        17            First, I have to note, that the Court s main

        13   impetus in providing the discovery at the time that it did

        1~   was to enable the defendant to see based on that discovery

        2~   whether or not they could during the two months that have

        2L   passed, two and a half months since the defendant was

        2Z   convicted, whether indeed investigation of those factors

       23    set forth in those reports could produce some new evidence

       2~    or some evidence that might have been available and is

       25    found at this time.
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         1            I have to note that since that date nearly three

         t   months ago, the defendant has not come forward with any

         3   evidence, has not shown how this might have helped his

         4   case, in the form of statements or declarations or

         5   affidavits by parties which suggests that any of the

         6   persons named by the informants would exculpate the

         7   defendant Zuno in any manner.

         3            The defendant is required to convince the Court

         a   under this ruling, that is under the state of the law, that

        1~   the evidence withheld would have led to a different result

        11   at the trial.   Aside from mere speculation, the defendant

        12   has not done so.

        13            And the defendant could potentially extract four

        14   pieces of evidence from the disclosed documents.     Sara

        15   Cosio's alleged involvement with Agent Camarena, the

        16   presence of Dr. Kosonoy at 881 Lope de Vega, the alleged

        17   statements of E1 Changa, and the alleged statements of

        13   Alfonso Velasquez.

        1a            Early in this trial before the trial began, I

        2~   ordered the government to disclose to the defendant the

        2L   names of all percipient, non testifying witnesses.     My

        2t   purpose in doing so was that I believed in fairness that

        23   the defendant should know all of the people who allegedly

        24   witnessed any of the criminal acts charged.

        2~            And in compelling the government to produce the
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                                                                           G~

         1    names of those people was to assist the defendant to

         2   investigate the possibility that among these non percipient

         3   witnesses, because if they were percipient and the

         4   government wasn't calling them, there is always a

         5    possibility that they would have favorable evidence to

         6   offer in favor of a defendant.    And that is the reason the

         7    Court ordered that their names and identites be disclosed.

         B             In regard to Sarah Cosio and E1 Changa, the

         9   defendant had access to their names prior to this latest

        1D   disclosure, because they were among the list of percipient

        11   and non testifying witnesses that was disclosed to the

        12   defendant long before the trial.

        13             So the failure to disclose, in the view of the

        14   Court, did not have adverse affect, but for the defendant's

        15   failure to pursue the witnesses further.

        16             The Brady case does not give the defendant a right

        17   to have the government construct the defense and identify

        13   defense witnesses.

        13             Where the defendant prior to trial had within

        2~   their knowledge the information by which they could have

        2L   ascertained the alleged Brady material, there is no

        2t   violation by the government.

        23             As far as the percipient witnesses of Velasquez

        2~   and Kosonoy are concerned, they would merely provide

        25   defendant with further evidence to attempt -- well, first
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          L   let me say about these alleged witnesses, and I have in

          t   mind that these reports that were ordered disclosed were

          3   hearsay on hearsay.

          4            It is extremely unlikely that anybody who was

         5    present at 881 Lope de Vega, who either witnessed or

         6    participated in what took place there, and who is

         7    unindicted, it is extremely unlikely that such a person

         B    would come forward to testify and make the statements that:

         9    Yes, he was present while Agent Camarena was being

        10    tortured.    And, yes, he would testify on behalf of a

        11    defendant.

        12             I dare say that that is probably the reason that

        13    we have had no evidence of such witnesses coming forward,

        14    either from the list of witnesses previously provided to

        15    the defendant or since the end of the trial with respect to

        16    the information provided.

        17             Even if these witnesses were to come forward, the

        18    net effect would be to offer conflicting evidence to that

        19    offered by the two government witnesses, Rene Lopez-Romero

        20    and Jorge Godoy.

        21             The defendant certainly impeached these witnesses

        22    extensively at the trial, showing their history and their

        23    participation in various crimes, and sufficiently

        24    challenged their credibility.

        25             I don't know that had a witness come forward and
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          L   stated or contradicted what their testimony was, whether it

          Z   would have made any difference.

          3            Now, with regard to Alfonso Velasquez.      His

         4    statements are not material in that a failure to inculpate

         5    the defendant does not infer favorable testimony.

         6             That was held in United States v. Brian in the

         7    Ninth Circuit in 1989.      But Velasquez' failure to name Zuno

         B    as one of the persons at Lope de Vega does not alone

         9    exculpate Mr. Zuno.

        10             Defendant has not provided this Court -- well, let

        11    me put it this way:      This event at 881 Lope de Vega was

        12    prolonged over a two day period.     We don't know exactly

        13    when this witness was there, whether he was there at a time

        14    early on or later on.     It is not really very helpful to

        15    show that he did not inculpate the defendant by the

        16    statements that he made.

        17             So the Court will not infer exculpatory testimony

        18    sufficient to undermine the confidence in the jury's

        19    verdict, which is the standard.

        20             So it would be the Court's view that this motion

        21    as well should be denied.

        22             Did you wish to be heard, Counsel?

        23             I~2. MEDVENE:    Yes, I do, Your Honor.   Thank you.

        24             Your Honor, we submit to you that under Rule 33

        25    there is a miscarriage of justice if the verdict is allowed
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         1   to stand.   Something --

         2             THE COURT:   Tell me what it is.

         3             MR. MEDVENE:   What is --

         4             THE COURT:   A miscarriage of justice is usually

         5   obvious to a Court.

         6             MR. MEDVENE:   Let me tell you why I believe it's

         7   obvious, Your Honor.

         6             There are two key components that the prosecution

         9   case rests on.   If either of which falls, I suggest the

        10    verdict must fall.

        11             The first component is that there was credible

        12   evidence that the kidnapping meetings occurred.     The

        13   government put forth a witness, basically Godoy, who was a

        14   witness that claims the kidnapping meetings occurred.

        15             Now, what is critical here, and it's a rare

        16   situation, Your Honor, and we have gone over the transcript

        17   thoroughly.   What the record shows is this:    Putting aside

        13   that it took six to seven years for this witness to come

        13   forward, putting that to the side for the moment, putting

        2~   aside the fact that it took him seven months of talking

        21   about Zuno before he first claimed he was at a kidnapping

        2Z   meeting, putting those things to the side, before anyone

        23   focused on the fact that we would get discovery showing

        24   this witness did not even work for Fonseca or attend

        25   meetings in November and December of 1984, this witness
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         1   clearly and unequivocally identified the kidnapping

         2   meetings in question as meetings he attended in November

         3   and December.   There is no question about that.

         4   And we can go through the transcript quickly.      Only when

         5   the prosecution realized, months later, months after April

         6   of '92, in December of '92 when they realized through

         7   discovery, we got a hold of Godoy's confession where Godoy

         B   admitted he was not working for Fonseca in November and

         9   December, was a change made in the Godoy testimony.

        10             Now Godoy tries to move from the confession by

        11   saying he was tortured or whatever, but on the stand, on

        12   cross-examination in front of Your Honor, Godoy admitted he

        13   was not working for Fonseca in November and December of '84

        14   or January of X85.    And we have the cite for that.

        15             Now with that in mind, the government had no way

        16   to go but to try to move Godoy from saying the meetings

        17   occurred in November and December and have him say they

        1g   occurred earlier.

        19             And for the first time at this time trial, and you

        2~   must remember, Your Honor, this is at a time when

        2L   Cervantes, and only Your Honor would know this because of

        2Z   the pleadings filed with Your Honor and the government,

        23   this is at a time when Cervantes is no longer a viable,

        24   credible government witness, as substantiated by the fact

        25   they didn't call him.    Circumstantially supportable they
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                                                                              14

         1   didn't call him.

         2               They know they don't have a witness.   They know

         3   you called this case to trial.      They have nobody to place

         4   in the kidnapping meetings because they know Cervantes is

         5   not who he claimed to be.    We spelled it all out.    And they

         6   confirm it by not calling him.

         7               So they get Godoy.   Seven months later, if you can

         B   believe this in your experience, seven months later, after

         9   they've questioned him for seven months, they no longer

        10   have Cervantes, and all of the sudden he implicates Zuno as

        11   being at kidnapping meetings.

        12               Now, what do they then do?   He puts him at the

        13   meetings in November and December.       They find out getting

        14   closer to the trial date, we've asked for and got a hold of

        15   his confession, where it says he wasn't working for Fonseca

        16   then and didn't attend meetings then.

        17               For the first time at trial there is no D.E.A.

        1B   report on this.    He claims that contrary to what he told

        1~   the D.E.A., he moved the meetings back to September and

        2D   early October.    So he tells the D.E.A. the first meeting

        21   was late October, early November.     He testifies on direct,

        22   late September, early October.     No reason for the change.

        23             On cross we bring him back to October, early

        24   November.    And then he says he testified incorrectly to the

        2~   D.E.A.
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                                                                              15

         1                The second meeting is cleaner.   The second meeting

         2    he tells Agent Levya the latter part of November of '84.

         3    And I have the cites.     On direct he says two weeks after

         4    that earlier date, and on cross we bring him back, he says

         5    the latter part of November approximately.      That's the

         6    December 8th transcript, page 66.

         7                Now we know independently he is not working for

         8    him then.     He didn't attend meetings then.

         9                The third meeting at 114 Tonala, he tells Leyva,

         LO   cause we know from Leyva and we get from the witness, late

         L1   November early December.     We know he is not working for him

         L2   then.

         L3               He tries to cheat in his testimony for the first

         L4   time saying it happened in October, but we get from him on

        L5    cross late November, early December, approximately.

        L6    December 8 transcript, page 66.

        L7                The fourth meeting, the Oficina meeting, he tells

        18    Leyva beginning of December.    With no reason for changing

        L9    he then has that on direct the beginning of December, when

        t0    we know it can't be.    He is not working for Fonseca the

        21    beginning of December.    We get on cross the beginning of

        Z2    December.

        23             Now he admits he was not working for Fonseca in

        24    November and December of '84 and January of '85 due to the

        25    bad back.    They didn't know he had that, but he had that.
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         1   That is the December 8th transcript, page 13.

         2             So it is never this clean, Judge.     You got the man

         3   making it up.    He makes it up after meeting for seven

         4   months.   And have you ever seen a case where it is as hot

         5   as this case?    When they are questioning him about Zuno, he

         6   is giving them stuff about Zuno.    For seven months he

         7   doesn't put him in a kidnapping meeting.     And then he puts

         8   him at one November and December.     We are then able to

         9   prove he is not working for Fonseca.     He moves it with no

        10   explanation.    No D.E.A. report about it.

        11             He never said he was changing it until he got on

        12   the stand at trial.

        13             Now, the government -- I mean that's pretty

        14   impressive.    So the government says, ~~Well, let's take a

        15   look at this seven months."    Did it really take him seven

        16   months?   And did it really take Godoy and forty days and

        17   four or five meetings?    And this fellow Godoy says he met

        1B   for 20 occasions with the D.E.A.    And the first time is

        19   seven months later.    I mean, that strains anybody's belief.

        2D             The government says, 'Well, maybe he told him at

        21   the second meeting.°    And we got the transcript and we are

        22   talking to Godoy:   "Is it correct, sir, to the best of your

        23   recollection, all you mentioned at the second meeting is

        24   something about seeing Mr. Zuno at a party, but nothing

        25   about kidnapping; is that correct?"    "Yes."   December 8,
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                                                                             17

             page 41.

         2              Godoy ultimately testifies that April of '92 is

         3   the first time he makes the claim Zuno's at a kidnapping

         4   meeting, that is seven months later.

         5              Romero tells the D.E.A. same thing as Godoy, as

         6   Godoy's friend, this November, December; and at trial he

         7   doesn't remember when the meetings happened.

         B              And Leyva was crystal clear, as clean as he could

         9   be, as clean as he could be.      We went down every D.E.A.

        10   report of Godoy's and every one of Lopez', and he said,

        11   "That's when he made the statement."

        12              We went through each report, and we said, ~~Is

        13   there any reference in there to Zuno being at any meeting?"

        14   Boom.   Boom.    Boom.   Boom.   Boom.   Till seven months later,

        15   finally the first reference.      And he then tries to waffle

        16   and they try to rehabilitate him a bit, "Maybe he mentioned

        17   it somewhere?"    "He might have.    He might have."

        1g              But then he falls back the other way and says,

        1a   "Look, I was asking him about specific things."        Giving the

        2D   impression:     I didn't ask him about was Zuno at meetings,

        21   kidnapping meetings, till I had time to do that, that was

        22   seven months later.

        23              Now that just strains belief.     They got Zuno

        24   socializing at parties.     This badness, that badness, but no

        25   kidnapping meetings for seven months.
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                       So you have Leyva tying in the testimony that the

             first time he tells him is seven months later and the first

             time he tells him, all the meetings are in November and

             December.

         5             And we know independently from the Mexican

         6   confession and from Godoy on the stand, he wasn't working

         7   for Fonseca November and December, and attended no meetings

         B   in November and December.

         9             Now, that's pretty good.   I mean that's really

        10   pretty good.    It doesn't get much cleaner than that.      We

        11   got a tough case with the jury.    We are arguing 33.    We are

        12   not saying -- I am not arguing 29.    I'm not saying there is

        13   not sufficient and they couldn't argue.

        14             But I'm saying as a 13th juror, miscarriage.      And

        15   something that's unarticulated, and I just want to say it.

        16   They cite Tibbs saying, U.S. Supreme Court, saying in a

        17   closely contested case, conflicting testimony, same

        1B   evidence, the trial judge can grant a 33; but gosh darn it,

        19   if that jury comes back the next time, same evidence, he

        2D   doesn't have to grant the 33.

        2L             I say to you, Judge, the critical words in Tibbs

        22   are the "same evidence".    We have totally different

        23   evidence in this case.    The connecting evidence, there was

        24   no Cervantes.   If anything, this is a stronger case for

        25   looking at it like you did the last time.     There is an
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                                                                             19

              honest to gosh miscarriage here.    These men made it up.

                           We will tell you in a minute how Cervantes even

              strengthens our case.    They're contradictory to

              Cervantes.     We don't have the same evidence here at this

              trial.   It's not what Tibbs is talking about.    We got

              different evidence and contradictory evidence to the first

              trial.

         8              And why do I say that?   Godoy says he was with

         9    Fonseca at all the meetings.    He says, you remember

        LO    Cervantes says there was a baptism meeting in September of

        11    '84.   He never attended any baptism meeting.    Better than

        L2    that, he says he attended the Javier Barba wedding

        L3    celebration.    You remember that's when Cervantes says the

        L4    meeting was.

        L5             He says he was there, and he says there was no

        L6    kidnapping meeting there.    So he is contradictory to

        L7    Cervantes.

        ~8             In addition, Cervantes is improbable because

        l9    Cervantes has one meeting in February, early February, and

        t0    this fellow has another meeting in early February with

        >.1   different people and different discussions.     Directly

        ?2    contradicts Cervantes.    And more than that, they don't know

        ?3    who Cervantes is.    One of them didn't know who Cervantes

        ?4~   was.

        ?5I            But Diaz, Castillo and Gardoqui are not at the
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                                                                                20

         1    Cervantes meetings.    They are present on Godoy's meeting.

         2    Matta, the main co-conspirator, is present at the Cervantes

         3    meetings.    He is not present at the Godoy meetings.

         4               But the critical thing here is, under Tibbs we

         5    got completely different evidence.

         6               I know if I were sitting as a trial judge I would

         7    say, "Hey, look, the guy got a break once."      It's not

         8    really a break.    It was right you did what you did.    It's

         9    right you did what you did.    But the implicit point is,

         LO   "Hey, fellow, I did it once.    You got another trial.      You

         L1   got twelve new jurors."

         L2              But, Judge, it is a different case.   It's not the

         L3   same case.    And the case they presented this time compounds

         L4   the badness of the first case.    We proved Cervantes was

        L5    made up.    They gave us these guys.   On a Saturday and

        L6    Sunday we get the stuff.    We got to cross-examine them the

        L7    next week.    And implicitly I think we are able to show, you

        18    are able to show, I wasn't good enough in front of the jury

        L9    with the killings and the drugs.   I just wasn't good

        ZO    enough.

        21               But, gosh, I got to be good enough in front of you

        22    that:   How could it be?   How could he place the meetings in

        23    November and December and say he wasn't working for them,

        24    and then he tries to move them back without an explanation?

        25               And you got all this other stuff.   Seven months,
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                                                                              21

          L   does that make sense to Your Honor?     Forty days where he is

              talking about Zuno, but never mentions kidnapping.

          3               THE COURT:   Counsel, you are repeating a lot of

          4   points now.    I think you have about made your point,

         5    haven't you?

         6                MR. MEDVENE:   Additionally, Your Honor, what was

         7    said at each meeting intrinsically we are saying doesn't

         B    make any sense.     We will just hit two or three areas.

         9                One, there was the alleged discussion at the

        10    meetings about, the first meeting, the testimony is by

        11    Aldana, "We know who the agent is.     Pick him up."

        12                The second, third and fourth meetings, all the

        13    testimony is about, allegedly, these people are talking

        14    about, "Who is the agent?~'

        15              It intrinsically, academically doesn't make any

        16    sense.   How can they know who the agent is and then they

        17    are talking at the second, third and fourth meeting, they

        18    have to explain why they haven't picked him up?     What is

        19    his name?    They said they know his name.

        20             We know they know his name from Kuykendall's

        21    testimony, who said that they were well aware that Enrique

        22    Camarena was the agent in charge, was working at Zacatecas,

        23    had infiltrated, knew Chavez, Chavez knew Quintero.      They

        24    knew who he was.    And that Kuykendall and Camarena attended

        25    a meeting with the attorney general so they knew who he
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                                                                                22

         1      was.

            2             So the conversations make no sense.     "We know who

            3   he is.   He won't take a bride."   Next three conversations,

            4   "Who is he?"

            5             Also the conversations where he said at the first

            6   couple meetings, allegedly Aldana and Ibarra, I think, or

            7   Aldana and Castillo were supposed to find out who is this

            B   agent and identify the agent.

            9             The last meeting they say, the third or fourth

        10      meeting, he testifies to, he says, "No.   It's not Aldana

        11      and Castillo.   It is Fonseca and Quintero who were supposed

        12      to find out who the agent was."

        13                There were many things like that.     There were 30

        14      people going into somebody~s bedroom to have a discussion.

        15               How about the fourth meeting?    Judge, how could

        16      there be a fourth meeting?   You have two things.    One, the

        17      witness at all times places it in December.     And he has

        1B      told us he wasn't there in December.   He didn't work for

        19      them.

        2                More than that, you have Salvador Lopez, an

        2       independent lawyer, not cross-examined on this point, that

        2       said there couldn't have been a meeting at Oficina because

        2       Oficina is not owned by Javier Ibarra-Hernandez.     It's

        2       owned by people I know, and Javier Ibarra-Hernandez and

      ~►a       these bad guys were never there.   You got independent
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                                                                           23

         1   reasons why there was no Oficina meeting.

         2             Putting to the side the meetings, I submit to you

         3   that's enough.    Putting that to the side, the other part of

         4   the government's case, if we win on the meetings, we have a

         5   Rule 33 and a new trial for the first time.

         6             If you think we lose on the meetings and there is

         7    not enough injustice and you want to put it together, they

         B   have to prove he is in the Cartel.     And as, Your Honor,

         9    pointed out:   Three and four he has to be in the Cartel,

        1D   and if we can knock out three and four that he is not in

        11   the Cartel, I think six and seven should go because you

        12   lose your motive and the drug evidence shouldn't have come

        13   in.

        14             Now, what do you have?    I'm not going to go

        15   through it all.    But in the brief we laid out about six

        16   different areas that their testimony broke into.      The focus

        17   of the investigation:    You have Kuykendall, Gomez,

        13   Guadalupe Gamez, and Lugo.     One confidential informant,

        1a   three agents, who told you about their infiltration,

        2~   investigation.    Gamez was at the highest level.     No

        2L   mention of Zuno of any kind.

        2Z             Two, the absence of reference to Zuno in any drug

        23   raids.   You have Zacatecas.    You have Bufalo.   You had

        2~   Padrino, the cocaine transaction.    You have Retamoza

        25   testifying, the cousin Felix-Gallardo, in the intermost
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                                                                                 24

                 circle.     No mention of Zuno of any kind.

                             On the drug meetings, many drug meetings of all

            3    the dealers, and Harrison overhearing thousands of

            4    conversations, no mention of Zuno of any kind.

                             Payoffs, you have Guadalupe Gamez talking about

                 payoffs to officials every twenty or thirty days.        No

                 reference to Zuno of any kind.

                             Searches by Ayala, Gonzalez, Clements, nothing

            ~■   that came up on Zuno.     Not in the phone book.   Not

        1        anywhere.     No reference of any kind.

        1                    They are pretty thin against what they have on it,

        1F~■     Judge.    He would have showed up if he is in the Cartel.

        1        They have some alleged socialization, if you believe Godoy

        1        and Harrison.     Your Honor pointed out last time, even if

        1        you believe socialization, socialization isn't being in the

        16       Cartel.

        17                   You have Quintero allegedly at the Lope de Vega

                 house when Zuno is not there making phone calls, which we

        7        think Harrison was undermined on where the calls came from.

        2        Did they come from there?     Sergio Virgen was living there

                 and said no such thing happened.     We know Zuno-Arce wasn't

                 there.

        e                    And, lastly, the only direct thing they have are

                 two things:     one, a marijuana truck that stopped, you

                 remember, and the other is the hand drawn map.
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                                                                              25

         1               On the marijuana truck, we think we substantially

         2    impeached, no such truck, whatever; but at worse it's an

         3    independent truck.    No tie of that truck and that

         4    marijuana, if there was a such a thing, to the Cartel.

         5               On the hand drawn map, lastly, testimony you can't

         6   do that trip in ten hours.     That's all they have against

         7   this mass -- against a couple of weeks of evidence of

         B   people in the highest ranks of the Cartel where you would

         9   have thought Zuno's name would be referenced once.     It

        10   'never came up once.

        11               And nothing on standard of living, nothing on biq

        12   house, nothing on money transfers, nothing on ostentatious

        13   anything.

        14             You got no tie, no forensic tie of anything.      No

        15   phone calls.    No anything.

        16             You've been patient with me, Your Honor, on the 29

        17   and 33.   I will just touch Brady, if I might.

        1B             THE COURT:   All right.

        1a             MR. MEDVENE:   Brady breaks down into two parts.       I

        2D   will do it fast.    One is Cosio and the other he wasn't at

        21   meetings, or whatever.

        2Z             On the Cosio part, this is a little overly

        23   aggressive, but I don't think the government really fights

        24   the Brady part of it, that's it is exculpating or

        2~   potentially exculpatory because Cosio really undermines the
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            L   government's theory.    It knocks out the relevance of the

            Z   Cartel, et cetera.

            3              And, Your Honor comes back, as the government did,

            4   that's fine, if that's the way you see it.     You said,

            5   "Well, it's not, in effect it's not material or where are

            5   you going with it?"

            7              Where we are going with it is, we would be

            3   entitled to cross-examine -- we couldn't argue it.      We got

            3   it the day of closing.    You know when we got it.   So the

        17      point is:    We couldn't investigate for trial; but more than

        1L      that, we could have questioned witnesses about this theory.

        1Z      It's a totally contradictory theory.      And the theory has

        13      some substance to it.

        14                 The substance is this:   It's not a made up theory

        1~      if you look at the evidence.   These guys are thugs.    They

        15      are like hired killers.    They see the Latter-Day Saints,

        17      they see the Mexican couple.   They just kill people.      La

        13      Langosta, they kill Radelat.   They are not like into lots

        1~      of conversations.    Forty-seven meetings like they claim

        2       happened here.   They're into doing it.    And that's kind of

        2L      what the Cosio theory is about.     Kind of doing it.   A guy

        2       like Quintero gets upset.   Says, ~~Pick him up and slap him

        23      around."

        2~                 We think we should have been able to do

        2i      investigation on it, and certainly we should have been able
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                                                                             27

          L   to raise it at trial as an alternative theory.

          Z             The other point Your Honor makes is, "Hey, you got

          3   the name, Fellow.   You got it."   Judge, we got the name

          4   with 74 other names and there was no identification.      We

         5    all know Cosio is the lady friend of Quintero.    And we all

         5    know that she flies off to Costa Rica with him from where

         7    ever she flies off from, Guadalajara or where ever she

         B    flies off from.   That we know.

         9              But we have no idea of this theory that they hit

        10    us right before the closing argument.    We think, we think

        11    we are clearly entitled to it.     They can't sit with that.

        12              Talking about sitting, in the D.E.A. report or

        13    this FBI report, they're sitting with testimony and we

        14    didn't know until we went to trial about Primavera Park,

        15    why the first case got reversed, and what would happen when

        16    the bodies were buried.

        17              They were sitting with a report that they didn't

        18    give us saying the bodies were buried, the source said the

        19    bodies were buried on somebody else's land.    On somebody

        20    else's land.   I mean, that's as bad as what they did with

        21    Dr. Machain.

        22              They specifically said the bodies are on the land

        23    of "X".   I have it here.   Now, they at that time were

        24    wanting to argue in front of you, and we went back and

        25    forth until you ruled, they wanted to argue that the bodies
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                                                                            28

          L   were buried on Zuno owned land.    They are sitting with one

          Z   of these two reports that says the bodies were buried on

          3   somebody else's land.   They didn't turn that over.    That's

          4   a pretty tough view of Brady.

         5             So we are saying it is not right.    It's a big

         6    case, but Marquis of Queensberry rules.

         7             The other part, little more speculative by us, but

         B    I don't think we fall under Brian, and we suggest it's

         9    Brady.

        10             I mean to think the Cosio stuff is clean.    I think

        11    the government concedes it's clean.    It's just a question

        12    of when we get one of 74 names without identification of a

        13    theory, is that good enough?

        14             The other stuff on the witnesses, here is why it

        15    is different than Brian, then I'm done.    Brian, I think

        16    what the Ninth Circuit is talking about is, an overall

        17    assertion that, "Hey, every witness that the government

        18    talks to, if they don't mention your guy, your defendant,

        19    that's not Brady.   They don't have to turn it over."

        20             We are not talking about that.    We are talking

        21    about in the heat of this investigation when the D.E.A.

        22    agents working this case, talked to this source, and they

        23    said, "Who was at Lope de Vega?"   And they're going to

        24    trial against us.   And we are the only live ones they are

        25    going against, against us and Machain.    It strains belief
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                                                                             29

          L   that they wouldn't say, "Was Zuno there?~~

                        They are not going to say Zuno was there in April

          3   of '91 when you're about ready to grant the motion.

          4             And is there any declaration by the agents that

         5    did the interviewing or by the FBI agent that they didn't

         6    ask is Zuno there?    This isn't Brian.   This is not all

         7    witnesses.   We are not asking for that.     We are saying

         B    witnesses that talked about who is at Lope de Vega when

         9    they're making a claim.

        10              Knowing they got a witness who maybe is going to

        11    say Zuno is there, wouldn't they ask them if Zuno was

        12    there?   We are saying we are entitled to that and we should

        13    have been able to run that out and should have been able to

        14    cross-examine, at a minimum, the agents about it, and the

        15    agent's knowledge of these people and the fact that they

        16    wouldn't have put Zuno there.

        17             You have been kind with your time, Your Honor.

        18             THE COURT:   Counsel, do you wish to be heard?

        19             MR. CARLTON:   Your Honor, the points have been

        20    made in the written papers and argued in great detail in

        21    the written papers.   I won't address each of them

        22    specifically.

        23             I will say that since Mr. Zuno's arrest in

        24    December of 1989, he and his counsel have been provided

         5    with thousands and thousands of pages of discovery.     Much
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            1   of that discovery consists of reports of the incidents

            2   surrounding this case and the events that happened, and

            3   have identified many, many people who conceivably would

            4   have had percipient information about this.

            5            Statements by persons who were present at Lope de

            6   Vega identifying other people who were present have been

            7   presented to them.

            g            Many names have been given to the defense over the

            9   years, including the list of 74 names that Your Honor

        1D      alluded to.

        11               And Mr. Zuno has had every incentive from day one

        1Z      to find some alternative theory to blame Agent Camarena's

        13      kidnapping and murder on and it doesn't exist.

        14               There is no such theory.   He hasn't been able to

        15      come up with it.   In all of these years the only thing that

        15      they have been able to latch on to is this FBI report, and

        17      I believe Your Honor's analysis of that is exactly correct.

        13      It's immaterial.   It's multiple layers of hearsay.   There

        1~      is no basis for finding a reasonable probability that

        2       access to that document would have in any way affected the

        2L      outcome of this case.

        2                Your Honor is well aware that two juries have

        23      found Mr. Zuno to be guilty.   Twenty-four people have been

        2~      convinced of his guilt.   Not one person has been convinced

        2>      that he is not guilty.
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            1              And yet despite that, the defense is constantly

            2   coming back saying there has been a miscarriage of

            3   justice.    There has been a miscarriage of justice.

            4              Your Honor, I submit, the facts show exactly the

            5   opposite.   There has been no miscarriage of justice.       This

            6   man is convicted because he is guilty and the verdict

            7   should stand.

            S              THE COURT:   The rulings of the Court as previously

            9   announced will stand.     All motions are denied.

        1D                        (Proceedings adjourned.)

        11

        1              I, MARY TUCKER, CSR, do hereby certify that

        1             the foregoing transcript is true and correct.

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        1                                                              /~

        1             MARY TUCI~~t, CSR                             DATE

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